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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA


     V.                                         CR 493-082-12


JAMES CLIFFORD WILLIAMS




                                  O R.D E R




     This matter comes before the Court on Defendant James Clifford


Williams's motion to reduce his sentence pursuant to the First

Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194.          Following

the parties' original briefing, the Eleventh Circuit Court of

Appeals issued United States v. Jones, 962 F.3d 1290 (11*^^ Cir.

2020), which clarified the eligibility requirements for relief

under Section 404 of the First Step Act.             The Court gave the

parties an opportunity to file supplemental briefs in light of

Jones,    which they have done.        For the reasons stated herein.

Defendant's motion for sentence reduction must be denied.




                             I.    BACKGROUND


     On February 3, 1994, Defendant was convicted by a jury on one

count of conspiracy to possess with intent to distribute and to

distribute cocaine and cocaine base, a violation of 21 U.S.C. §

846 (Count 1); possession with intent to distribute cocaine and
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cocaine base, a violation of 21 U.S.C. § 841(a)(1) (Count 5); two

counts of carrying a firearm during a drug trafficking offense,

violations of 18 U.S.C § 924(c) (Counts 4 & 6); and being a felon

in possession of a firearm, a violation of 18 U.S.C. § 922(g)

(Count     7).      Because    the   United States         had filed a notice           of

sentence enhancement under 21 U.S.C. § 851 based on at least two

prior felony drug convictions. Defendant was subject to a mandatory

life term of imprisonment under 21 U.S.C. § 841(b)(1)(A)(iii) on

both     drug     charges.     On    March    10,    1994,   the   Court       sentenced

Defendant to life terms on the two drug convictions (Counts 1 & 5)

and 120 months for the § 922(g) offense, to be served concurrently.

Defendant was also sentenced to concurrent terms of 60 months for


the    two   §    924(c)   offenses    to    run    consecutive    to    the    sentence

imposed on the § 922(g) and drug charges.                  Thus, Defendant's total

term of imprisonment is life plus 60 months.

        Upon remand from Defendant's appeal of his conviction and

sentence, the Court revised the Presentence Investigation Report

("PSI")      to    calculate    attributable        drug   quantities.          The   PSI

attributed to Defendant 8.1 kilograms of powder cocaine, with an

85% yield rate, resulting in approximately 6.9 kilograms of crack

cocaine.         Upon this finding (more than 1.5 kilograms of crack

cocaine). Defendant was assigned a base offense level of 38.                      After

enhancements.        Defendant's      total   offense      level   was    44;    with   a

criminal history category of III, Defendant faced a mandatory
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guideline range of life imprisonment.         Of note, Defendant remained

subject to a mandatory life term for the drug offenses under 21

U.S.C. §§ 841(b)(1)(A)(iii) and 851.         In April 1997, upon adoption

of the revised PSI, the Court imposed the same sentence.                    The

Eleventh Circuit affirmed the drug quantity finding on appeal.

See United States v. Williams, Case No. 97-8394 (11*^^ Cir. Mar. 9,

1999), Doc. 763.)

      At   present.     Defendant   seeks   relief    under   18   U.S.C.    §

3582(c)(1)(B),     which authorizes a district court to            modify an

imposed term of imprisonment to the extent authorized by statute.

Here, Defendant invokes the statutory changes from Section 2 of

the Fair Sentencing Act of 2010, which were made retroactive by

the First Step Act of 2018.




                    II.    FIRST STEP ACT ELIGIBILITY


      Sections 2 and 3 of the Fair Sentencing Act of 2010, Pub. L.

No.   lll-22'O,   124   Stat.   2372,   lowered   statutory   penalties   for

certain offenses involving crack cocaine by raising the threshold

amounts for enhanced penalties.          Specifically, Section 2 changed

the quantity of crack cocaine necessary to trigger a ten-year

mandatory minimum, under § 841(b)(1)(A)(iii), from 50 grams to 280

grams, and the quantity of crack cocaine necessary to trigger a

five-year mandatory minimum, under § 841(b)(1)(B)(iii), from 5
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grams to 28 grams.^         These changes, however, were not retroactive

until the passage of the First Step Act of 2018.                  Section 404(b)

of the First Step Act authorizes a court, in its discretion, to

impose a reduced sentence "as if sections 2 and 3 of the Fair

Sentencing Act . . . were in effect at the time the covered offense

was committed."       First Step Act § 404(b); see also Jones, 962 F.3d

at 1298.


       The First Step Act defines "covered offense" as "a violation

of a Federal criminal statute, the statutory penalties for which

were modified by section 2 or 3 of the Fair Sentencing Act . . .

that was committed before August 3, 2010."                     First Step Act §

404(a).       Prior   to    Jones,   district   courts    differed      on    whether

"statutory penalties" were to be defined based upon the statute of

conviction or      the     defendant's    actual    conduct.     The    Jones   court


rejected a conduct-based approach to determining eligibility and

held   that   a   defendant    has   a   "covered    offense"   if     his   "offense


triggered the higher penalties in section 841(b)(1)(A)(iii) or

(B)(iii)."     962 F.3d at 1301.         The court stated:      "The actual drug-

quantity involved in the movant's offense is irrelevant as far as

the element and the offense are concerned.              The actual quantity is

only the means of satisfying the drug-quantity element.                         That




^ Section 3 of the Fair Sentencing Act, which is not relevant here,
modified the penalties related to simple possession of crack
cocaine under 21 U.S.C. § 844(a).
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quantity     constitutes       relevant     conduct        under   the    Sentencing

Guidelines,    but it       does   not   define    the    offense."      Id.   at 1301

(emphasis in original) (citations omitted).                   Instead, the Jones

court    counseled    the     district    courts     to    "consult      the    record,

including the movant's charging document, the jury verdict or

guilty plea, the sentencing record, and the final judgment" to

determine if the movant's offense triggered the higher penalties.

Id. at 1300-01.      In this case, there is no dispute that Defendant-

was sentenced under 21 U.S.C. § 841(b)(1)(A)(iii), a sentencing

provision affected by Section 2 of the Fair Sentencing Act; thus.

Defendant's offense is a covered offense.


     Defendant's           satisfaction     of       the      "covered         offense"


requirement, however, does not necessarily mean that the Court is

authorized to reduce his sentence.                See United States v. Ingram,

    F. App'x ---, 2020 WL 6059658, at *3 (11<^^^ Cir. Oct. 14, 2020)

("That     Ingram    satisfied      the    'covered        offense'      requirement,

however,    does     not    necessarily     mean     the     district     court     was

authorized to reduce his sentence[] . . . ."); United States v.

Brown,       F. App'x         , 2020 WL 5868267, at *2 (ll^h cir. Oct. 2,

2020) (citing Jones, 962 F.3d at 1303).              In construing the "as if"

qualifier of Section 404(b) of the First Step Act, the Jones court

identified two limitations to the district court's authority:

     First, it does not permit reducing a movant's sentence
     if he received the lowest statutory penalty that also
     would be available to him under the Fair Sentencing Act.
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     Second, in determining what a movant's statutory penalty
     would be under the Fair Sentencing Act, the district
     court is bound by a previous finding of drug quantity
     that       could   have   been   used   to   determine   the    movant's
     statutory penalty at the time of sentencing.      If the
     movant's sentence would have necessarily remained the
     same had the Fair Sentencing Act been in effect, then
     the district court lacks the authority to reduce the
     movant's sentence.    Any reduction the district court
     would grant would not be "as if" the Fair Sentencing Act
     had been in effect.    That is, the First Step Act does
     not permit a reduction when the Fair Sentencing Act could
     not have benefitted the movant.


Jones, 962 F.3d at 1303.         Unfortunately for Defendant, his sentence

falls within this express limitation.                  It is undisputed that

Defendant was responsible for 6.9 kilograms of crack cocaine and

that he has two prior felony drug convictions; thus, both before

and after the Fair Sentencing Act of 2010, Defendant was subject

to a statutory mandatory life term of imprisonment.                    Compare 21

U.S.C.      §     841(b)(1)(A)(iii)          (1994)    with     21     U.S.C.   §

841(b)(1)(A)(iii) (2012).             That is. Defendant's sentence of life

imprisonment "is still the lowest possible penalty that would be

available to him under the Fair Sentencing Act."               See Ingram, 2020

WL 6059658, at *3.             In this regard. Defendant is in the same

situation as defendant Jackson from the Jones case, about whom the

Eleventh Circuit wrote:


     Jackson was sentenced to a statutory mandatory sentence
     of life imprisonment based on a drug-quantity finding of
     287 grams of crack cocaine and his three prior felony
     drug convictions. The district court correctly concluded
     that it could not reduce Jackson's sentence because his
     drug-quantity finding meant that he would face the same
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       statutory penalty of life imprisonment under the Fair
       Sentencing Act.

Jones, 962 F.3d at 1304; accord United States v. Malone, 2020 WL

4721244, at *4 (S.D. Ala. Aug. 13, 2020) (denying First Step Act

relief to similarly situated movant, stating "[t]he logical defect

upon which [movant's] Motion founders is his unfounded assumption

that    he   is    no   longer   subject   to   a    mandatory    life   sentence

provision").

       In    his   post-Jones    submissions        to   the   Court,    Defendant

contends that the Court is under no obligation to consider the

drug quantity attributed to him in determining the applicable

statutory range of punishment.         This same contention was recently

rejected by a panel of the Eleventh Circuit in the Ingram case,

wherein the court held that a district court is "bound by its

earlier drug-quantity finding and [is] entitled to rely on those

judge-found factual findings--made pre-Apprendi--that triggered

increased statutory penalties."            Ingram, 2020 WL 6059658-, at *3

(footnote omitted) (citing Jones, 962 F.3d at 1302, 1303-04).

Indeed, the second limitation to the district court's authority

expressed by the Jones court states that a district court "is bound

by a previous finding of drug quantity."                 See Jones, 962 F.3d at

1303.    Accordingly, this Court is without authority to essentially

redefine his offense as suggested by Defendant.
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                               III.    CONCLUSION


     Upon the foregoing, the Court determines that Defendant James

Clifford Williams is not eligible from relief under the First Step

Act based upon the statutory mandatory life term imposed under 21

U.S.C.   §§   841(b) (1) (A)   and    851.    See    Jones,   962   F.3d   at   1303

("[T]he First Step Act does not permit a reduction when the Fair

Sentencing      Act    could     not     have       benefitted      Defendant.") -

Accordingly, his motion to reduce (doc. 985) is DENIED.

     ORDER ENTERED at Augusta, Georgia, this                     day of October,

2020.




                                             J. RANDAL HALL/ CHIEF JUDGE
                                             jJNITE_^STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF GEORGIA
